          CASE 0:21-cv-02256-ECT-DTS Doc. 75 Filed 09/07/22 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                                  District of Minnesota


Lee Michael Pederson,                                     JUDGMENT IN A CIVIL CASE
                                  Plaintiff,
v.                                                        Case Number: 21-cv-2256 ECT/DTS
Harvey Kesner, Barry Honig, Steven Rubin,
Jane Hsiao, Brian Keller, Opko Health, Inc.,
Michael Brauser,

                                  Defendants.




☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
   and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

1. Plaintiff Lee Michael Pederson is restricted from prosecuting new cases in
this District, regardless of whether the case is filed or removed here, against Defendants
named in this case or based on the same nucleus of operative allegations as those in this
lawsuit, Pederson I, and Pederson II, unless he is represented by counsel or obtains prior
written authorization to file a case or to prosecute a removed action from a judicial officer
of this District.
2. Plaintiff Lee Michael Pederson shall pay $20,000 to Defendants Steven
Rubin, Jane Hsiao, and OPKO Health, Inc. as a sanction pursuant to Rule 11 of the Federal
Rules of Civil Procedure.
3. The claims against Defendants Harvey Kesner, Barry Honig, Michael
Brauser, and Brian Keller are DISMISSED WITHOUT PREJUDICE pursuant to
Federal Rule of Civil Procedure 41(b) for failure to prosecute.



     Date: 9/7/2022                                            KATE M. FOGARTY, CLERK
